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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

LAKENDRA COOK,                              )
SHARON MOTLEY,                              )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )       CASE NO. 2:18-CV-977-WKW
                                            )                 [WO]
HAL TAYLOR, in his official                 )
capacity as Secretary of the                )
Alabama Law Enforcement                     )
Agency,                                     )
                                            )
             Defendant.                     )

                   MEMORANDUM OPINION AND ORDER

      Plaintiffs Lakendra Cook and Sharon Motley, two indigent Alabama

residents, currently have suspended driver’s licenses.           Those licenses were

suspended by state courts because Plaintiffs failed to pay their traffic tickets.

Plaintiffs say those suspensions were unconstitutional because the courts did not

consider whether Plaintiffs were unable to pay through no fault of their own.

Plaintiffs filed this lawsuit to get their licenses back.

      When they filed suit, Plaintiffs also had license suspensions for failing to

appear in court for different traffic tickets.       Plaintiffs do not challenge those

suspensions. And those suspensions mean that the court cannot give Plaintiffs what
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they want: the reinstatement of their driver’s licenses. And since the court cannot

give Plaintiffs what they want, they lack standing to bring this suit.

       Plaintiffs seek a preliminary injunction (Doc. # 2) to prohibit Defendant Hal

Taylor, head of the Alabama Law Enforcement Agency (ALEA),1 from enforcing

an Alabama rule that authorizes state courts to suspend indigent individuals’ driver’s

licenses without finding that they willfully refused to pay. Plaintiffs also seek an

order requiring the State to reinstate licenses suspended under this rule. Finally,

Plaintiffs move to certify a class of similarly situated individuals. (Doc. # 4.) The

State moved to dismiss (Doc. # 20) on jurisdictional grounds as well as on the merits.

This opinion addresses those motions.

                          I.         JURISDICTION AND VENUE

       Because this case involves a constitutional challenge to state actions, subject-

matter jurisdiction is proper under 28 U.S.C. § 1331 (federal question). The parties

do not contest personal jurisdiction or venue.

                               II.    STANDARD OF REVIEW

       An attack on subject-matter jurisdiction under Federal Rule of Civil Procedure

12(b)(1) may be either a facial attack or a factual attack. Lawrence v. Dunbar, 919

F.2d 1525, 1528–29 (11th Cir. 1990).                 A facial attack simply challenges the



       1
         Because Plaintiffs sue Taylor in his official capacity, the court will refer to Defendant as
“the State.”

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sufficiency of the plaintiff’s jurisdictional allegations, which are taken as true. Id.

at 1529 (quotation omitted). Factual attacks, however, challenge “the existence of

subject matter jurisdiction in fact, irrespective of the pleadings, and matters outside

the pleadings, such as testimony and affidavits, are considered.” Id. (quotation

omitted). The State attacks Plaintiffs’ standing based on their separate license

suspensions for failing to appear in court. This is a factual attack on jurisdiction that

requires the court to look beyond the allegations of the complaint and to the evidence

presented by the parties. See MSPA Claims 1, LLC v. Tenet Fla., Inc., 918 F.3d

1312, 1318–19 (11th Cir. 2019). Thus, in deciding the motion, the court has

reviewed all the evidence presented by the parties.

                               III.   BACKGROUND

A.     Alabama’s Driver’s License-Suspension Scheme

       1.    Receiving a Traffic Ticket

       Alabama police officers are required by statute to use a uniform traffic ticket.

See Ala. Code § 12-12-53(a). That statute is implemented by Alabama Rule of

Judicial Administration 19(A), which is promulgated by the Alabama Supreme

Court. Rule 19(A) provides what each traffic ticket must contain and includes the

standard ticket form, called Form UTTC-1. Prior to November 30, 2018, Form

UTTC-1 (Series N) was the standard traffic ticket throughout the state. (Doc. # 20-

4, at 2.)


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      The Series N ticket has a section entitled “NOTICE,” which gives

“INSTRUCTIONS TO THE DEFENDANT.” (Doc. # 20-4, at 14.) The notice

states that the defendant must appear in court on a given date unless she has already

settled the case. If the defendant fails to appear, the Department of Public Safety

will be notified to suspend her license. (Doc. # 20-4, at 14.) Series N does not give

notice that defendants who fail to pay their fines are subject to license suspension.

(Doc. # 20-4, at 3.)

      2.     The State’s Changes to the Traffic Ticket System

      On January 26, 2018, the Standing Committee on the Alabama Rules of

Judicial Administration recommended that the Alabama Supreme Court amend Rule

19(A) and the UTTC-1 ticket to include language notifying persons who received

traffic tickets that their license is subject to suspension for failure to pay fines or

enter into a court-approved payment plan. (Doc. # 20-4, at 3.) On May 9, 2018, the

Alabama Supreme Court entered an order amending Rule 19(A) to include the

Standing Committee’s proposed language. (Doc. # 20-4, at 3.)

      On August 10, 2018, the Standing Committee recommended that the court

adopt an updated Form UTTC-1 that includes: (1) the new notice language already

approved by the court; and (2) several corrective changes, such as replacing

references to the “Department of Public Safety” with the “Alabama Law

Enforcement Agency.” (Doc. # 20-4, at 4.) Form UTTC-1 (Series P) contains the


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additional notice language approved by the court in the amendments to Rule 19(A).

(Doc. # 20-4, at 3.)

       Form UTTC-1 (Series P) was approved by the Alabama Supreme Court on

November 30, 2019, eleven days after this lawsuit was filed. (Doc. # 20-4, at 4.)

Series P is now the operative uniform traffic ticket in Alabama.

       3.     Courts’ Authority to Impose Fines and Suspend Licenses

              a.       Courts’ Authority to Impose Fines

       Alabama Rule of Criminal Procedure 26.11 governs fines and restitutions in

state courts.2 Rule 26.11(b) provides that courts, in deciding whether to impose a

fine, “should consider” five factors, including “the financial resources and

obligations of the defendant and the burden that payment of a fine will impose,” as

well as the “ability of the defendant to pay a fine forthwith on an installment basis

or on other conditions to be fixed by the court.” Ala. R. Crim. P. 26.11(b)(2), (3)

(emphasis added).

       If the defendant fails to pay a fine, the court “may inquire and cause an

investigation to be made into the defendant’s financial, employment, and family

standing, and the reasons for nonpayment of the fine,” including whether

nonpayment “was contumacious or due to indigency,” — that is, whether the


       2
          “Rule 26.11 is taken from the ABA Standards for Criminal Justice, Sentencing
Alternatives and Procedures 18-2.7 (2d ed. 1986).” Ala. R. Crim. P. 26.11 committee comments.


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defendant willfully chose not to pay or was simply too poor. Ala. R. Crim. P.

26.11(g) (emphasis added). The words should and may, when read in their ordinary

sense, mean that courts are not required to consider the indigency of the defendant

in deciding whether to impose a fine or in determining why a fine has not been paid.3

              b.     Courts’ Authority to Suspend Driver’s Licenses

       When a court imposes a fine for a traffic violation, it “may suspend” the

defendant’s driver’s license “upon a failure of a defendant to comply with the order

of the court” — that is, when the defendant fails to pay the fine. Ala. R. Crim. P.

26.11(i)(3). And the license “may remain suspended until the total amount of the

fine” has been paid. Id.

       4.     Implementing Court-Ordered Suspensions

       To effectuate a license suspension, the court sends a form, called a UTC-25,

to the Alabama State Law Enforcement Agency (ALEA).4 (Docs. # 6-3, at 3.) That

form contains a box that the judge or clerk must check certifying that the defendant

was ordered to pay a fine and failed to pay. (Doc. # 6-2.) ALEA then mails a notice

to the defendant that her license has been suspended. (Doc. # 6-4.)




       3
        The parties have not cited, and the court has not found, an Alabama case construing the
language in Rule 26.11 as mandatory.
       4
         ALEA includes the Department of Public Safety and the State Bureau of Investigations.
See Ala. Code § 41-27-1.

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       If a defendant receives a traffic ticket and fails to show up on her court date,

a separate provision governs. Upon receiving “written notice from the court” that

the defendant failed to appear, ALEA “shall suspend the driver license and driving

privilege of the defaulting driver until notified by the court” that the defendant has

appeared. Ala. Admin. Code. r. 760-X-1-.12.

       Defendant Hal Taylor, as head of ALEA, is tasked with administering and

enforcing the laws governing motor vehicles in the state. See Ala. Code §§ 32-2-5;

41-27-2(a). He also implements court-ordered license suspensions. (See Docs. # 6-

3, 6-4, 6-5, 6-6.)

B.     The Plaintiffs

       1.     Lakendra Cook

       Plaintiff Lakendra Cook is a single mother living in Birmingham, Alabama.

Her driver’s license is currently suspended for two reasons. First, Cook’s license

was suspended on March 12, 2018, for her failure to pay a total of $313 in fines and

costs for two traffic tickets in Wetumpka Municipal Court. (Doc. # 20-1, at 10, 14.)

That was after she agreed to a court-approved payment plan and stated that she was

financially able to meet it (Doc. # 20-1, at 15), and failed to appear at a review

hearing on January 30, 2018 (Doc. # 20-1, at 12, 14, 15).

       Following the Wetumpka suspension, Cook’s driver’s license was suspended

in a Hale County case. Cook received a ticket in Hale County and failed to appear


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in court on June 11, 2018. (Doc. # 20-1, at 21, 22.) In a written notice, the court

reset the case for September 7, 2018, ordering Cook to pay her ticket in full or appear

in court on that date, or else her license would be subject to suspension. (Doc. # 20-

1, at 22, 23.) Cook failed to appear at her September 7 court date, (Doc. # 20-1, at

24), and a suspension notice was issued on September 14, 2018 (Doc. # 20-1, at 20).

       Thus, when the complaint was filed, Cook’s driver’s license was suspended

for: (1) failure to pay in her Wetumpka case; and (2) failure to appear in her Hale

County case. Cook “is in the process of addressing her suspension in Hale County.”

(Doc. # 22, at 5 n.2.) After signing a court document to the contrary, Cook now says

she cannot afford to make the payments in her Wetumpka case.5 (Doc. # 1-1, at 1.)

       2.      Sharon Motley

       Plaintiff Sharon Motley lives in Montgomery, Alabama. Her license is

currently suspended for two reasons. First, on June 6, 2005, the Montgomery

Municipal Court issued alias warrants after Motley failed to appear at her court date

for two tickets she received. (Doc. # 20-3, at 12, 16.)




       5
          Cook offers no explanation for her signed agreement in a Wetumpka Municipal Court
document that “I AM FINANCIALLY ABLE TO PAY THE PAYMENTS SET OUT ABOVE.”
(Doc. # 20-1, at 15.) While that statement does not necessarily bind Cook as a judicial admission
because it was made in a different case, see Raiford v. Abney (Matter of Raiford), 695 F.2d 521,
523 (11th Cir. 1983), it nonetheless serves as an evidentiary admission, see Higgins v. Mississippi,
217 F.3d 951, 954–5 (7th Cir. 2000), and Cook has not attempted to explain it away. Were the
court to reach the merits of Plaintiffs’ request for a preliminary injunction, Cook’s statement would
count against her in the weighing of the equities.

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      Motley’s failure to appear in the 2005 Montgomery Municipal Court cases

appears to have resulted in a suspension of her driver’s license. Although no direct

documentation of the 2005 suspension appears in the record, Motley received a

ticket in 2013 for driving with a suspended license. (Doc. # 20-3.) That ticket could

not have been validly issued, of course, unless Motley’s license had already been

suspended. The State contends, and Motley does not dispute, that the 2005 failure

to appear resulted in a suspension, and that Motley’s license “has been suspended

continuously since 2005 as a result of her failure to appear in connection with her

Montgomery Municipal Court cases.” (Doc. # 21, at 10; see Doc. # 22, at 4.)

      The 2013 ticket for driving with a suspended license is the second reason

Motley’s license is suspended. On September 24, 2013, Motley pleaded guilty in

Montgomery District Court to the ticket for driving with a suspended license. The

court imposed a fine and court costs totaling $310, and gave Motley a little less than

a month to pay it in full. (Doc. # 20-3, at 4.) On December 20, 2013, the court

issued a failure to pay warrant, and the case action summary shows that a suspension

notice was also issued that same day. (Doc. # 20-3, at 7.)

      On November 21, 2018, just two days after Plaintiffs’ complaint was filed,

Motley appeared in Montgomery Municipal Court to address her 2005 tickets. (Doc.

# 20-3, at 18, 19.) She obtained a payment plan for those tickets, and the case was

set for a hearing on January 14, 2019, to determine whether Motley had complied


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with the plan. (Doc. # 20-3, at 18, 19.) That hearing apparently never occurred

because, on December 7, 2018, Motley received notices from the Montgomery

Municipal Court that her 2005 tickets had been cleared. (Doc. # 22-3, at 2, 3.)

       Thus, when the complaint was filed, Motley’s license was suspended as the

result of: (1) a 2005 failure to appear in Montgomery Municipal Court; and (2) a

2013 failure to pay in Montgomery District Court. Motley cannot afford to pay for

her outstanding traffic tickets. (Doc. # 1-3, at 1.)

C.     The Claim

       On November 19, 2018, Plaintiffs filed this lawsuit, alleging that the State’s

suspension of their licenses violates the Fourteenth Amendment’s guarantees of due

process and equal protection as explained by Bearden v. Georgia, 461 U.S. 660

(1983). Bearden held that, before ordering imprisonment for failure to pay a fine, a

sentencing court must determine whether an indigent probationer willfully refused

to pay and, if his inability to pay was through no fault of his own, must consider

alternative measures of punishment. Id. at 672.

       “Due process and equal protection principles converge” to protect indigent

defendants from imprisonment solely because of their inability to pay fines. Id. at

665. The principle that the states must provide “equal justice for poor and rich, weak

and powerful alike,” Griffin v. Illinois, 351 U.S. 12, 16 (1956), “has not been

confined to cases in which imprisonment is at stake,” M.L.B. v. S.L.J., 519 U.S. 102,


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111 (1996). Plaintiffs seek to extend Bearden to protect indigent persons from

having their driver’s licenses suspended without a finding of fault.

      Plaintiffs’ claim, brought on behalf of all similarly situated persons, is based

on the State’s suspension of their driver’s licenses under Rule 26.11(i)(3) “without

prior notice, the opportunity to be heard, and an express finding that the individual

is able to pay and willfully failed to do so.” (Doc. # 1, at 16.) Plaintiffs seek to: (1)

enjoin ALEA from suspending licenses under Rule 26.11(i)(3) for nonpayment; (2)

require ALEA to reinstate licenses that were suspended for nonpayment (assuming

there is no other reason for suspension); and (3) require ALEA to provide notice to

the drivers who are eligible to have their licenses reinstated. (Doc. # 1, at 17–18.)

                                IV.    DISCUSSION

      Article III limits federal courts’ jurisdiction to “cases” and “controversies.”

U.S. Const. art. III, § 2. “[T]he core component of standing is an essential and

unchanging part of the case-or-controversy requirement of Article III.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). Standing is assessed at the time

the complaint is filed, Newman–Green, Inc. v. Alfonzo–Larrain, 490 U.S. 826, 830

(1989), and a plaintiff must maintain standing throughout her entire case, Arizonans

for Official English v. Arizona, 520 U.S. 43, 67 (1997). A plaintiff must also

demonstrate standing for each of her claims and for each form of relief she seeks.

Davis v. FEC, 554 U.S. 724, 734 (2008).


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      To have standing, a plaintiff must establish: (1) an injury in fact which is (a)

concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical; (2) a causal connection between the injury and the conduct complained

of; and (3) that her injury is likely to be redressed by a favorable decision. Lujan,

504 U.S. at 560–61. Plaintiffs’ standing goes awry on causation and redressability.

A.    Because Plaintiffs’ licenses were also suspended for failing to appear in
court, they lack standing to challenge the suspensions for nonpayment.

      As this court recently explained,

      When two laws independently prohibit the same thing but a plaintiff
      challenges only one law, the plaintiff lacks standing. That is because the
      challenged law does not cause the plaintiff’s injury (the unchallenged law
      does), and striking down the challenged law would not remedy the injury
      (because the unchallenged law would still apply).

Doe 1 v. Marshall, --- F. Supp. 3d ---, No. 2:15-CV-606-WKW, 2019 WL 539055,

at *12 (M.D. Ala. Feb. 11, 2019) (footnote omitted); see also 13A Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 3531.5 (3d ed. 2008

& Supp. 2018) (“Independent causation may be found when a plaintiff’s activity is

independently proscribed by two different laws. One law alone does not cause the

injury if the other law validly outlaws all the same activity.”).

      The independent-cause principle implicates redressability as well. See Doe 1,

2019 WL 539055, at *12; see also Massachusetts v. EPA, 549 U.S. 497, 543 (2007)

(“As is often the case, the questions of causation and redressability overlap.”). That



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is because a plaintiff whose conduct is proscribed by another, unchallenged law

cannot get what she wants because the other law still stands in the way.6

       The Eleventh Circuit applied the independent-cause principle in two cases to

bar advertising companies from bringing First Amendment challenges to billboard

bans. In KH Outdoor, LLC v. Clay County, a county denied a permit to a billboard

company seeking to build several large signs because the signs did not comply with

a city ordinance. 482 F.3d 1299, 1301 (11th Cir. 2007). The company’s “injury”

was that it could not erect the signs. Id. But the company did not have standing

because the state’s building code also prevented it from building the signs. Id. at

1303. Likewise, in Maverick Media Group, Inc. v. Hillsborough County, the court

held that an advertising company lacked standing to challenge the county’s denial

of its permit application because the proposed sign was also prohibited by

unchallenged height and size restrictions. 528 F.3d 817, 821 (11th Cir. 2008).

       Courts have applied the independent-cause principle to other contexts. For

example, in Howard v. New Jersey Department of Civil Service, the Third Circuit

considered a challenge to a physical agility test that was required for public

employment. 667 F.2d 1099, 1101 (3d Cir. 1981). The court held that the plaintiffs

lacked standing because they failed the written test, which was also required for



       6
        See generally The Rolling Stones, You Can’t Always Get What You Want, on Let It Bleed
(Decca Records 1969).

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employment (and which they did not challenge). Id. at 1102. And in Delta

Construction Co. v. EPA, the D.C. Circuit held that plaintiffs who challenged an

EPA rule lacked standing because their injury was independently caused by an

identical, unchallenged NHTSA rule. 783 F.3d 1291, 1296 (D.C. Cir. 2015); see

also White v. United States, 601 F.3d 545, 552–53 (6th Cir. 2010) (federal

cockfighting ban was not cause of plaintiffs’ injuries because cockfighting is

independently proscribed by the laws of all fifty states).

      The independent-cause principle prevents Plaintiffs from maintaining their

claim. Plaintiffs’ injuries are their license suspension, and their reason for suing is

to have them reinstated. At the time they filed their complaint, Plaintiffs’ licenses

were suspended for two different reasons, one of which they do not challenge.

      First, both Cook and Motley had their licenses suspended for failing to pay

fines that were imposed without a finding of fault.          Plaintiffs challenge that

suspension, which occurred under Rule 26.11(i)(3), as unconstitutional.

      Second, at the time they filed their complaint, both Cook and Motley had

separate license suspensions based on their failures to appear on their designated

court dates. Cook’s failure-to-appear suspension was based on her Hale County

case, and Motley’s was based on her Montgomery Municipal Court cases.

      License suspensions for failure to appear in court are governed by another

law. Though the parties do not cite a rule under which a court or ALEA may suspend


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a license for failure to appear, such authority appears to be given in Alabama

Administrative Code r. 760-X-1-.12, which states that ALEA “shall suspend the

driver license . . . of the defaulting driver” upon “written notice from the court.”

Plaintiffs do not challenge this rule, nor do they “dispute that courts have various

tools at their disposal when an individual fails to appear at a properly noticed hearing

— including suspending an individual’s license or issuing a warrant.” (Doc. # 22,

at 9 n.4.) When the complaint was filed, Plaintiffs’ licenses were suspended for

failures to appear in separate cases — suspensions that were mandated by a rule they

do not challenge. Thus, under the independent-cause principle, Plaintiffs lack

standing to bring their claim.

      That Motley remedied her Montgomery Municipal Court failure-to-appear

suspension a mere two days after filing suit does not change the analysis. “The

existence of federal jurisdiction ordinarily depends on the facts as they exist when

the complaint is filed.” Newman-Green, 490 U.S. at 830 (emphasis added). Actions

taken after the complaint’s filing cannot “retroactively create[]” jurisdiction “that

did not exist at the outset.” Lujan, 504 U.S. at 598 n.4. Plaintiffs have identified no

exception to this rule, and the court may not create one, especially in view of an

apparent attempt to manipulate jurisdiction.

      One district court considering a Bearden challenge to a license-suspension

statute held that the plaintiffs had standing despite their other, unchallenged


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suspensions. See Robinson v. Purkey, 326 F.R.D. 105, 129 (M.D. Tenn. 2018),

appeal docketed, No. 18-6121 (6th Cir. Oct. 24, 2018). In so holding, Robinson

characterized the multiple suspensions as a “cumulative barrier” to license

reinstatement and said that “[a] plaintiff who seeks removal of a barrier to obtaining

a particular outcome ‘need not allege that he would have obtained the benefit but for

the barrier in order to establish standing.’” Id. (quoting Lac Vieux Desert Band of

Lake Superior Chippewa Indians v. Mich. Gaming Control Bd., 172 F.3d 397, 404

(6th Cir. 1999)). Thus, the court said, a plaintiff need not remedy her other

suspensions before suing as long as she challenges one of them as unlawful.

       Robinson’s standing analysis is not sound because of two reasons.7 First,

Robinson analyzed injury-in-fact too narrowly and, in doing so, lost sight of

causation and redressability. The court held that the plaintiffs’ injuries-in-fact

“include not only the simple fact of not having a driver’s license, but also the

particular barriers placed between the plaintiffs and reinstatement.” Id. at 130

(emphasis added). In other words, that there were reasons for suspension other than

the challenged law did not matter because the challenged law created its own,

separate injury. The court then addressed whether that injury — the suspension



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         Although it does not explicitly disagree with Robinson, another district court considering
a Bearden challenge to a license-suspension statute noted in dicta that a plaintiff whose license
was suspended under a different, unchallenged law “most likely lacks standing to pursue” such a
challenge. Fowler v. Johnson, Civ. Case No. 17-11441, 2017 WL 6379676, at *2 n.3 (E.D. Mich.
Dec. 14, 2017).

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based on the challenged law — was fairly traceable to and redressable by each public

official or public entity defendant. See id. at 130–132.

      This analysis misses the forest for the trees. Robinson would hold that a Rule

26.11(i)(3) license suspension is its own injury, and a failure-to-appear suspension

merely creates a “cumulative suspension” that Plaintiffs need not remove to establish

standing. But if Robinson is right, KH Outdoor and Maverick would have come out

differently.   The advertising companies would have had standing because the

billboard bans caused their own injuries. That the proposed signs also violated

height and size and building code barriers would not matter because a plaintiff “need

not allege that he would have obtained the benefit but for th[ose] barrier[s] in order

to establish standing.” Robinson, 326 F.R.D. at 129 (quoting Lac Vieux, 172 F.3d at

404). But the Eleventh Circuit held just the opposite — height and size and building

code restrictions did prevent the companies from having standing. And the court is

bound to apply that reasoning.

      As made clear in their complaint and affidavits, Plaintiffs’ injury is their

license suspensions, and their requested relief is getting their licenses back. (Doc.

# 1, 17–18; Doc. # 1-1, at 3; Doc. # 1-3, at 3.) But Rule 26.11(i)(3) did not cause

their suspensions (their failures to appear did) and, taking the facts as they existed

when the complaint was filed, declaring that rule unconstitutional would not remedy




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their suspensions (because their licenses would still be suspended for failing to

appear in separate cases).

      Second, Robinson failed to address the authorities applying the independent-

cause principle. The cases it did cite are inapposite. Robinson cited several cases in

which courts held that factual improbability that a plaintiff achieve his desired

outcome does not defeat standing. See Associated Gen. Contractors of Am. v. City

of Jacksonville, 508 U.S. 656, 666 (1993) (contractors challenging racial set-aside

need not prove actual loss of a contract, only denial of an opportunity to compete on

equal footing); Regents of Univ. of Calif. v. Bakke, 438 U.S. 265, 280 n.14 (1978)

(student challenging racial preference in college admissions need not prove that he

would have been admitted in the absence of the preference); Lac Vieux, 172 F.3d at

405 (Indian tribe challenging preference in competitive-bidding process to build a

casino need not prove that it would have ultimately submitted a successful bid).

These cases do not address the situation when there is an independent legal barrier

to a plaintiff’s obtaining her desired result. As explained in KH Outdoor, Maverick,

Howard, Delta Construction, and White, unchallenged laws that keep a plaintiff

from getting what she wants vitiate standing.

      The court respectfully disagrees with Robinson. Independent, unchallenged

legal barriers — Plaintiffs’ failure-to-appear suspensions under a different law —




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keep Plaintiffs from having standing to bring this suit.8 Because Plaintiffs lack

standing, the court must dismiss this action for lack of jurisdiction.9

       A dismissal for lack of standing “is necessarily without prejudice.” DiMaio

v. Democratic Nat’l Comm., 520 F.3d 1299, 1303 (11th Cir. 2008) (citing Boda v.

United States, 698 F.2d 1174, 1177 n.4 (11th Cir. 1983)). The court will therefore

dismiss this action without prejudice.




       8
         As a practical matter, it is worth noting the difficulty of explaining to the sentencing court
that, because of indigency, a fine should be suspended or reduced, when the defendant does not
attend the hearing. See Garcia v. City of Abilene, 890 F.2d 773, 776 (5th Cir. 1989) (“Even
assuming an individual who is fined is too poor to pay, if he does not appear and assert his
indigency, the court cannot inquire into his reasons for not paying and offer alternatives.”).
       9
          The State also argues that Plaintiffs’ injury is neither traceable to or redressable by
Defendant Taylor because courts are ultimately responsible for suspending a license and Taylor
merely follows courts’ directives. Not so. “[T]he inquiry is not into the nature of an official’s
duties but into the effect of the official’s performance of his duties on the plaintiff’s rights.”
Strickland v. Alexander, 772 F.3d 876, 886 (11th Cir. 2014) (quoting Finberg v. Sullivan, 634 F.2d
50, 54 (3d Cir. 1980)). In Strickland, the plaintiff challenged Georgia’s post-judgment
garnishment statute as unconstitutional. Id. at 878–79. The court asked whether the plaintiff’s
injury — his subjection to unlawful garnishment proceedings — was fairly traceable to the conduct
of a court clerk responsible for implementing the garnishment statute. Id. at 886. The court
concluded that it was, and that an injunction against the statute’s implementation would also
redress the plaintiff’s injury. Id. Strickland compels the same conclusion here. Defendant Taylor
is responsible for suspending licenses in Alabama. That he lacks discretion when implementing
court-ordered license suspensions does not change the analysis. Without Taylor’s actions. “it
would be impossible to effectuate a license suspension.” Stinne v. Holcomb, 355 F. Supp. 3d 514,
526 (W.D. Va. 2018) (holding that plaintiffs with suspended licenses had standing to sue state
official responsible for enforcing state license-suspension law, even though suspension was
automatic under the statute). Plaintiffs’ license suspensions are therefore fairly traceable to and
redressable by Defendant Taylor.

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B.   Absent a named plaintiff with standing, class certification is
inappropriate.

       To maintain a class action, the named plaintiffs must have standing. Lewis v.

Casey, 518 U.S. 343, 357 (1996) (quoting Simon v. E. Ky. Welfare Rights Org., 426

U.S. 26, 40 n.20 (1976)). Because no named plaintiff has standing, the court may

not certify a class.

C.    Because Plaintiffs lack standing, the court will not consider the State’s
alternative grounds for dismissal.

       Since Plaintiffs do not have standing, the court lacks jurisdiction and may not

reach the merits of their claim. See Az. Christian Sch. Tuition Org. v. Winn, 563

U.S. 125, 129 (2011) (“To obtain a determination on the merits in federal court,

parties seeking relief must show that they have standing under Article III of the

Constitution.”). That means the court may not decide the State’s Rule 12(b)(6)

motion to dismiss for failure to state a claim.

       The court will also not consider the State’s other nonmerits challenges to

Plaintiff’s complaint, including its arguments that: (1) Plaintiffs’ claim is moot in

view of the State’s changes to Form UTTC-1; and (2) sovereign immunity bars

Plaintiffs’ claim. See Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S.

422, 431 (2007) (recognizing that “a federal court has leeway ‘to choose among

threshold grounds for denying audience to a case on the merits’”) (quoting Ruhrgas




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AG v. Marathon Oil Co., 526 U.S. 574, 585 (1999)); Ruhrgas, 526 U.S. at 584

(stating that there is no “sequencing of jurisdictional issues”).

                                 V. CONCLUSION

      At bottom, Plaintiffs cannot get what they want (the reinstatement of their

driver’s licenses) because there are independent, unchallenged legal reasons why

those licenses were suspended (their failures to appear in court in separate cases).

That means Plaintiffs lack standing, and the court must dismiss the case without

reaching the merits of their Bearden claim.

      It is ORDERED:

      (1)    Plaintiffs’ motion for a preliminary injunction (Doc. # 2) is DENIED.

      (2)    Plaintiffs’ motion for class certification (Doc. # 4) is DENIED.

      (3)    The State’s motion to dismiss (Doc. # 20) is GRANTED.

      (4)    This case is DISMISSED without prejudice.

      A separate final judgment will be entered.

      DONE this 1st day of May, 2019.

                                              /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE




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